      Case 1:23-cr-00347-JGK        Document 136-4        Filed 04/17/25     Page 1 of 2




Honorable John G. Koeltl
Daniel Patrick Moynihan
United States Courthouse,
Courtroom 14A
500 Pearl St.
New York, NY 10007-1312


                                                                  January 29th, 2025.



Dear Judge Koeltl,

I first heard of Alexander Mashinsky watching online videos about blockchain technology in
early 2018. Since then, I have become very well versed of Alex, Celsius Network and the
overall crypto ecosystem. Alex holds a US patent for developing VOIP, the voice over the
internet protocol that billions of people use today. This line item on his resume opened my
eyes to listen to him more. I continued my research to discover that he created another
start-up whose major accomplishment was to provide free WiFi connectivity to the New
York subway users. I began to admire his legacy and contributions to humanity. At a steady
pace, I started to deposit my crypto into Celsius. I became a top 200 CEL token holder and
very quickly, my account grew to a substantial amount. What gave me great comfort in
trusting Celsius was its true and only authentic founder, Mr. Mashinsky.

How could I not trust a 57-year-old man who is a father of six children and who has had an
impeccable track record of disrupting industries for the benefit of people? How could it be
possible that a highly commemorated entrepreneur would decide, suddenly, to run away
with my savings? In which world can someone find a man ready to throw all his legacy to
the garbage, ready to endanger billions of dollars in value and put at risk not seeing his
children grow up because he must serve the rest of his life in prison? Judge, something
does not match here, and I am confident that your experience will lead you to the right
sentencing decision.

My financial experience has been extremely challenging with the Celsius bankruptcy. There
is money missing because of Celsius’ mismanagement. In addition, there are hundreds of
millions of dollars that were paid in legal fees during these proceedings that could have
been returned to creditors.

I can also tell you that the Celsius Network’s business model, as explained by Mashinsky
and many of his executives and senior staƯ, gave me confidence in depositing my crypto
with Celsius. I will also tell you that in various occasions, Alex personally told me to sell
CEL token, to rebalance my portfolio and to not put all my eggs in one basket. I take
responsibility for my actions. People can give me suggestions and make inaccurate



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     Case 1:23-cr-00347-JGK         Document 136-4       Filed 04/17/25    Page 2 of 2




statements, but ultimately, I am responsible for my own decisions. This is what I teach my
kids: culturally, humanity has shifted from taking responsibility for their own realities to
blaming others for their failures. As human beings, we must go back to the times where a
person was determined to craft his or her own destiny through hard work and dedication.

To conclude, I will say that Mashinsky is also an imperfect human being who has certainly
made mistakes as well as issuing some inaccurate statements. Assembling and trusting
the wrong team of executives represented the most detrimental flaw and he should take
responsibility for those decisions. These bad choices, unfortunately, have led to the
suƯering of many including myself but who hasn’t made mistakes when building a
revolutionary project? Mashinsky’s vision for Celsius Network was to bring power to the
people. I can honestly say that I am a more powerful person today than I was before I met
Alex. Nothing has changed since 2018. Today, I choose to continue to believe in his motto:
“do good then do well.”




                                                         Sincerely,

                                                                 Santos Caceres
                                                                 Unsecured Creditor




                                                                                      Ex. A-3
